 Case 16-10168       Doc 118      Filed 12/19/18 Entered 12/19/18 13:42:55           Desc Main
                                   Document     Page 1 of 1


                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSACHUSETTS


In re                                                        Case No. 16-10168 FJB
                                                             Chapter 7
        John W. Coughlin, III

        Debtor


  DEFICIENCY NOTICE RE: PETITION FOR PAYMENT OF UNCLAIMED FUNDS

        The Court is unable to process your Petition for Payment of Unclaimed Funds as the
transferor; Nicole Bancroft was not served with a copy of the Petition for Payment of Unclaimed
funds and notified of the Response deadline.

       Please cure this deficiency and submit a Certificate of Service and Notice of Response
Deadline (21 days) a within 45 days of the date of this Notice:

                                        Finance Office
                                United States Bankruptcy Court
                        John. W. McCormack Post Office & Court House
                               5 Post Office Square, Suite 1150
                                   Boston, MA 02109-3945

        If you have any questions, please do not hesitate to contact the Court at the number below.


Dated: December 19, 2018                             By the Court,


                                                     /s/Judith P. Crossen
                                                     Chief Deputy Clerk
                                                     Telephone 617-748-6600
